                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal No. 3:10-00250
                                                    )      Judge Trauger
MATTHEW PAUL DEHART                                 )

                                           ORDER

       It is hereby ORDERED that the next telephone status conference will take place on

Monday, March 10, 2014, at 10:30 a.m. Counsel for all parties shall call (615) 695-2858 in

order to participate in the telephone conference.

       It is so ORDERED.

       ENTER this 10th day of January 2014.



                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




 Case 3:10-cr-00250        Document 198        Filed 01/10/14   Page 1 of 1 PageID #: 1002
